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        Case: 2:22-cv-02653-ALM-CMV Doc #: 110-1 Filed: 06/13/24 Page: 1 of 2 PAGEID #: 3434



                 From: Michael Geoghegan <MGeoghegan@egcc.edu>
                    To: Aimee Leishure <a leishure@student-resource.org>
               Subject: Re: EGCC Collaboration Reimbursement Request and Profit Share Request - August 25,
                        2022
                  Date: Fri, 26 Aug 2022 17:09:45 +0000
          Importance: Normal
        Inline-Images: Outlook-vljbivql.png



      Aimee - There is no collaboration budget for FY23 , as required by the Agreement. You cannot invoice for profit
      share without such budget. In addition there is a cease and desist order from DOE on the Free College Benefit
      program. 1 trust you're not booking these profit share invoices as revenues.

      Michael Geoghegan, MBA, CPA
      President
      Eastern Gateway Community College
      110 John Scott Highway
      Steubenville, OH 43952
      (740) 266-9729

      From: Aimee Leishure <aleishure@student-resource.org>
      Sent: Thursday, August 25, 2022 7:50:16 PM
      To: Michael Geoghegan <MGeoghegan@egcc.edu>
      Subject: EGCC Collaboration Reimbursement Request and Profit Share Requ est - August 25, 2022



      Dear President Geoghega n,

      Please find attached two invoices which include expense reimbursements and a profit share request. These are
      the second set of invoices for August 2022.

      You will note that I have removed a number of the hea dcount and decreased the payro ll allocation to 65% from
      the 78% you've seen in previous months. I will removed t he accountant expense going fo rward . I wanted to
      highlight from your last email, that you receive no sala ry allocation for myself even though a high percentage of
      my time is spent on EGCC and the collaboration operations/results.

      You also posed a qu estion regarding marketing. Ou r marketing team is working w ith t he unions on a dai ly basis
      to keep them updated and educated on the current operational situation of the collaboration and on t he DOE
      communication . Th ey have been focused on updating Union websites o n behalf of t he collaboration and have
      also coordinated union member communication for individuals.

      Please let me know if you have any questions.

      Respectfully yours,
      Aimee Leishure

                                                                                                            DEFENDANT'S
                                                                                                        i     EXHIBIT
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                                                                                                            SR~000QO)f072
  Case: 2:22-cv-02653-ALM-CMV Doc #: 110-1 Filed: 06/13/24 Page: 2 of 2 PAGEID #: 3435




Aimee Leishure
Chief Financial Officer
Student Resource Center
410.350.4468




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